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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No. 3:20-mj-00217
                                                                 )
   GAVAUGHN GAQUEZ STREETER-HILLERICH                            )
                                                                 )
                                                                 )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      6/26/2020               in the county of             Multnomah         in the
                       District of            Oregon         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 844(i)                              Arson and Attempted Arson
18 U.S.C. § 844(f)(1)                           Arson and Attempted Arson




         This criminal complaint is based on these facts:
See Affidavit of ATF Special Agent Cynthia M. Chang attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                  ATF Special Agent Cynthia M. Chang
                                                                                             Printed name and title

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WHOHSKRQHDWSP

Date:             08/26/2020
                                                                                               Judge’s signature

City and state:                         Portland, Oregon                      Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                             Printed name and title
